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                         UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              WAYCROSS DIVISION

DR. MAHENDRA AMIN, M.D.,               )
                                       )
        Plaintiff,                     )
                                       ) Case No. 5:21-CV-00056-LGW-BWC
v.                                     )
                                       ) TRIAL BY JURY DEMANDED
NBCUNIVERSAL MEDIA, LLC,               )
                                       )
        Defendant.                     )

             FIRST AMENDED COMPLAINT FOR DEFAMATION

        Plaintiff, Dr. Mahendra Amin, M.D., hereby states his First Amended

Complaint for defamation against Defendant NBCUniversal Media, LLC (“NBC

Universal”) as follows:

                                 INTRODUCTION

        1.     This Complaint arises from a series of MSNBC broadcast segments

that contain multiple false and defamatory statements of and concerning a private

figure, Dr. Mahendra Amin, M.D., that accuse him of performing mass

hysterectomies that were not medically necessary on immigrant women detained at

the Irwin County Detention Center (“ICDC”).

        2.     The broadcast segments aired on (1) Deadline with Nicolle Wallace

on or about September 15, 2020; (2) All In with Chris Hayes on or about

September 15, 2020; (3) All In with Chris Hayes on or about September 16, 2020;
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and (4) The Rachel Maddow Show on or about September 16, 2020; and (5) All In

with Chris Hayes on or about September 17, 2020 (collectively referred to herein

as “broadcasts”).

      3.      The gist of the broadcasts falsely portrays Dr. Amin of being an

abusive, unethical, and dishonest physician who treated and operated on immigrant

women in an abusive fashion, without consent, and motivated by profit instead of

quality healthcare.

      4.      The false and defamatory statements in the broadcasts convey to the

average viewer, listener, and reader that Dr. Amin was an evil doctor seeking to

carry out a sterilization campaign on immigrant women detained at the ICDC.

      5.      The statements and insinuations leveled toward Dr. Amin were

reckless, vile, and devoid of any decency or concern for Dr. Amin’s reputation and

livelihood.

      6.      The broadcasts are false and discredited.

      7.      In fact, Dr. Amin performed only two hysterectomies on patients from

the ICDC. Both were medically necessary.

      8.      In both instances, the patients were informed and consented to the

procedures. In both instances, the United States Immigration and Customs

Enforcement (“ICE”) conducted an independent review of the treatment plans and

approved the procedures.


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         9.    The false and defamatory statements were published in national and

international television broadcasts, online videos, online articles, and social media

posts.

         10.   The false and defamatory statements assassinated Dr. Amin’s

character and damaged his reputation as a physician.

         11.   MSNBC and its writers, reporters, and broadcasters abandoned

journalistic integrity and negligently and recklessly published the false and

defamatory broadcasts.

         12.   The media has an important role to play in our society. But it does not

have an unfettered right or privilege under the First Amendment to injure the

reputations of private individuals by publishing and broadcasting false and

defamatory statements against them.

         13.   Indeed, it is the media’s important role in society that demands it get

broadcasts right before airing them across the country and around the globe.

         14.   Instead of considering its important role in sharing news and truth,

MSNBC chose to chase a false narrative that fed ratings all at the expense of Dr.

Amin, a private individual, a good and trusted doctor—an immigrant himself—

who has dedicated his life to providing quality healthcare services for marginalized

and underserved communities.




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      15.   As a result of the conduct described herein, MSNBC crossed the

threshold from speech protected by the First Amendment to enter the arena of

actionable defamation for which it must be held legally accountable.

                                       PARTIES

      16.   Dr. Amin is an individual who resides in Douglas, Georgia, Coffee

County.

      17.   MSNBC is a cable television news channel owned by NBCUniversal

Media, LLC.

      18.   NBCUniversal Media, LLC is a limited liability company

incorporated in Delaware with its principal place of business in New York.

      19.   NBCUniversal, as the owner and operator of MSNBC, is liable for the

actions of MSNBC, including its writers, reporters, and broadcasters.

                         JURISDICTION AND VENUE

      20.   Dr. Amin is a citizen of the State of Georgia for purposes of diversity

jurisdiction under 28 U.S.C. § 1332.

      21.   NBCUniversal is a citizen of Delaware or New York for purposes of

diversity jurisdiction under 28 U.S.C. § 1332.

      22.   This Court has original subject matter jurisdiction of this action

pursuant to 28 U.S.C. § 1332 as there exists complete diversity of citizenship




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between Dr. Amin and NBCUniversal and the amount in controversy exceeds

$75,000, exclusive of interest and costs.

      23.    NBCUniversal is subject to the jurisdiction of this Court pursuant to

28 U.S.C. § 1332.

      24.    Venue is proper in this Court pursuant to 28 U.S.C. § 1391.

                           FACTUAL BACKGROUND

                                     Dr. Amin

      25.    Dr. Amin was born, raised, and completed medical school in India.

      26.    Dr. Amin grew up very poor, living in homes with dirt floors. But his

parents sacrificed to help him through medical school. His parents sold the only

land they owned and borrowed money to make sure he could finish his education.

      27.    Dr. Amin lived up to his parents’ sacrifice, becoming one of only

eight out of 300 medical student hopefuls who could ultimately enroll in medical

school from his district in India.

      28.    When he first came to the United States, he worked in a New York

City subway store and sold newspapers in Brooklyn, working 12 hours a day, six

days a week, all while studying for additional medical exams required of foreign

students.

      29.    He completed his Residency in Gynecology in the United States and

has been licensed to practice medicine in Georgia for over 35 years.


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      30.    Dr. Amin remembers his humble beginnings and the power of

someone sacrificing so that others can have a better future. That is why he has

practiced in underserved areas nearly his entire medical career.

      31.    Over the course of his medical career, on a regular basis, he has

worked 36-hour shifts, seen over 60 patients in a day, and delivered over 400

babies in a year.

      32.    He has often worked for free and for many years, he kept regular daily

office hours and performed hospital surgeries at night, all to ensure that—as much

as he could prevent it—no one who needed care would go without.

      33.    Dr. Amin regularly treats uninsured patients (some who drive over

100 miles to see him) and accepts whatever patients can pay in return.

      34.    He never turns away a patient for inability to pay.

      35.    He regularly treated patients in area jails because he knows that if he

does not provide treatment, it is likely the patients will go without.

      36.    Until last year, Dr. Amin was the sole OB/GYN physician in Irwin

County, Georgia. At the present time, Dr. Amin is one of only two OB/GYN

physicians in Irwin County, Georgia.

      37.    Many, if not most, of Dr. Amin’s patients fall below the poverty line

and are on Medicaid.




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      38.    Dr. Amin provides medical care to patients at a local health clinic at

least once per week on a voluntary basis.

      39.    Until last year, Dr. Amin provided gynecological medical services to

patients detained at the ICDC.

      40.    In the early to mid-1990s, Irwin County Hospital was on the brink of

closing its doors. Dr. Amin put up his own money, hired a management team, and

kept the hospital alive. Indeed, the hospital improved with Dr. Amin’s

leadership—adding more patient rooms and several other upgrades.

      41.    Dr. Amin has not taken a vacation in over 25 years.

      42.    On his rare weekends away, he remains “on call” and instructs his

nursing staff to call him if any of his patients go into labor so that he can return and

deliver the babies and care for their mothers.

      43.    Dr. Amin loves this country and all it has afforded him, and he is

determined to give back.

      44.    He is devoted to medicine and to providing care to underserved

communities.

        September 14, 2020 letter and Project South’s media campaign

      45.    On September 14, 2020, Project South, an organization that portrays

its mission as “eliminating poverty and genocide” and “cultivating strong social




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movements,” released a letter addressed to the Department of Homeland Security

(“DHS”), the ICE Atlanta Field Office, and the ICDC (“letter”).

      46.    The letter did not identify Dr. Amin.

      47.    The letter contained allegations regarding conditions at the ICDC,

mostly relating to COVID-19. The letter also contained allegations of high rates of

hysterectomies at the ICDC.

      48.    Instead of legitimately seeking or waiting for an investigation into the

allegations, Project South immediately worked to sensationalize the contents of the

letter by sharing it widely with the news media.

The letter was not submitted (if it was at all) as part of a government process

      49.    The letter was not part of a complaint filed in any court or submitted

as part of any administrative proceeding.

      50.    ICE is a division of DHS.

      51.    ICDC was an ICE facility at the time of the date of the letter.

      52.    The Department of Homeland Security (DHS) has a specific protocol

for handling civil rights and civil liberties complaints.

      53.    Under the DHS protocol, no report is made regarding a civil rights

and civil liberties complaint unless and until an investigation is complete.




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      54.    According to the protocol, the Office of Inspector General (“OIG”)

first decides whether to retain the complaint and if it does, then the OIG conducts

an investigation and issues a report of the investigation.

      55.    Next, if the OIG does not retain the complaint, then the complaint is

sent to the DHS Office of Civil Rights and Civil Liberties (CRCL), which may

retain the complaint.

      56.    Then, CRCL may investigate and issue a report of its findings.

      57.    Alternatively, CRCL may refer the complaint to one of the component

departments of DHS.

      58.    Then, the component department will either work jointly with CRCL

on an investigation and issue a report of its findings or close the complaint and

notify the complainant without issuing a report.

      59.    No matter which of these ways a complaint is handled, it is not made

public by the government.

      60.    No matter which of these ways a complaint is handled, the

government does not report out unless and until there is an investigation and a

report of findings.

      61.    Dawn Wooten, the alleged source of the information contained in the

letter, did not follow the DHS protocol.

      62.    Project South did not follow the DHS protocol.


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          63.   The letter was not submitted pursuant to the DHS protocol.

          64.   If Dawn Wooten and Project South had submitted the letter pursuant

to DHS protocol, the letter would not have been public.

          65.   DHS, ICE, and ICDC have not issued any statements that contain the

letter.

          66.   Dawn Wooten, the alleged source of the information contained in the

letter, did not seek to be anonymous and did not seek any other protections that

could be afforded to true whistleblowers who file formal complaints. Indeed, she

sought the limelight, going so far as to solicit funds through a GoFundMe page,

which has generated over $100,000 in donations to date.

          67.   ICE stated that the letter did not follow its “appropriate channels.”

          68.   There was no government action until at least October 2020.

          69.   After Project South’s media campaign, the OIG did conduct an

investigation, but never made a public comment about any allegations from Project

South or Dawn Wooten until January 3, 2022—nearly a year and a half after the

false and defamatory broadcasts.

          70.   The OIG never mentioned Dr. Amin.

          71.   The OIG issued a report of its findings on January 3, 2022.




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      72.   That report stated, “Based on its medical records review, the NCCHC

[National Commission on Correctional Health Care] Resources team determined

women’s health care to be appropriate.”

      73.   MSNBC did not share this information with its viewers.

                  MSNBC’s false and defamatory broadcasts

      74.   MSNBC began publishing false and defamatory statements about Dr.

Amin on September 15, 2020 and continued to do so through at least September

17, 2020.

      75.   First, on Deadline with Nicolle Wallace, which aired on or about

September 15, 2020 (“first broadcast”), MSNBC published the following false and

defamatory statements of and concerning Dr. Amin:

            (a)   High numbers of female detainees, detained
                  immigrants, at an ICE detention center in Georgia
                  received questionable hysterectomies while in ICE
                  custody.

            (b)   Detained women…didn’t fully understand why
                  they were undergoing hysterectomies.

            (c)   Women were afraid to go to this doctor.

            (d)   Some said that they came back bruised and that he
                  was overly harsh.

            (e)   They called him abusive.

            (f)   There were women who were told that they needed
                  a hysterectomy because they had cancer. One of

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                   those women, her medical records does not
                   indicate that she ever had a biopsy to indicate that
                   she had cancer and another case, a lawyer told me
                   that his client had a hysterectomy because she was
                   told she had stage four cervical cancer and after
                   the hysterectomy when she went to the oncologist,
                   the oncologist said you do not have cancer, so
                   these are alarming allegations about this doctor.

             (g)   This is his specialty, he’s the uterus collector.

             (h)   Well, what is he doing…collecting all of our
                   uteruses?

             (i)   Our clients are afraid to go back to him; he’s
                   hurting these women.

             (j)   And perhaps doing very unnecessary procedures
                   and not what you would need in a short-term
                   detention situation.

      76.    MSNBC included the statement “High number of hysterectomies at

ICE Detention Ctr.” across the screen during the first broadcast.

      77.    MSNBC named Dr. Amin in the first broadcast.

      78.    Second, on All In with Chris Hayes, which aired on or about

September 15, 2020 (“second broadcast”), MSNBC published the following false

and defamatory statements of and concerning Dr. Amin:

             (a)   Is he the uterus collector?

             (b)   Women at that facility [ICDC]…were subjected to
                   unnecessary hysterectomies at the hands of a local
                   OB-GYN.


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         (c)   Three women who say they had procedures they
               either did not consent to ahead of time or felt
               coerced into consenting to.

         (d)   One of those women detained at that very facility
               [ICDC], who says she felt pressured into a full
               abdominal hysterectomy by this doctor.

         (e)   I felt like I had no right to say anything. …Dr.
               Amin just told me, listen, you’re going to get
               hysterectomy done….I had nothing – no say in
               this.

         (f)   Migrant women say that a doctor was performing
               unauthorized hysterectomies on immigrant women
               detained at that facility.

         (g)   Two of his clients received hysterectomies they
               believe may have been unnecessary.

         (h)   Two different women who claim they also had
               unnecessary hysterectomies while detained at this
               facility.

         (i)   As many as 15 immigrant women were given full
               or partial hysterectomies or other procedures for
               which no medical indication existed.

         (j)   Is he the uterus collector? Does he collect
               uteruses?

         (k)   Everyone that I talked to has had a hysterectomy.

         (l)   They would say is he the uterus collector?

         (m)   There’s a large population of these—of these
               women, immigrants who’ve had this—who have
               been mistreated in this way, assaulted.


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      79.    MSNBC included the statement “Mass hysterectomies performed on

women at ICE facility” across the screen during the second broadcast.

      80.    MSNBC referenced its earlier reporting regarding Dr. Amin in the

second broadcast.

      81.    Third, on All In with Chris Hayes, which aired on or about September

16, 2020 (“third broadcast”), MSNBC published the following false and

defamatory statements of and concerning Dr. Amin:

             (a)    They were subjected to unnecessary
                    hysterectomies at the hands of a local OB/GYN.

             (b)    Uterus collector.

             (c)    Three women who say that they had procedures
                    that they either did not consent to ahead of time or
                    felt coerced into consenting to.

             (d)    She felt pressured into a full abdominal
                    hysterectomy by this doctor.

             (e)    Dr. Amin just told me listen, you’re gonna get
                    hysterectomy done and schedule an appointment
                    for that; I had no say in this.

      82.    MSNBC included the statement “Mass hysterectomies” across the

screen during the third broadcast.

      83.    MSNBC also included a picture and the text of Dr. Amin’s name on

the screen during the third broadcast.



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      84.   Fourth, on The Rachel Maddow Show, which aired on or about

September 16, 2020 (“fourth broadcast”), MSNBC published the following false

and defamatory statements of and concerning Dr. Amin:

            (a)   Immigrant women at that facility have told her that
                  they routinely have been sent to a gynecologist
                  who has performed unnecessary procedures on
                  them, including hysterectomies.

            (b)   They have been sending immigrant women in their
                  care, in their custody, to a doctor who has removed
                  their reproductive organs for no medical reason
                  and without them consenting to it.

            (c)   Five different women between October,
                  November, and December 2019, over that three-
                  month period, five different women who’d had a
                  hysterectomy done.

            (d)   I thought this was like an experimental
                  concentration camp. It was like they’re
                  experimenting with our bodies.

            (e)   Everybody this doctor sees has a hysterectomy,
                  just about everybody.

            (f)   He’s even taken out the wrong ovary on one
                  detained immigrant woman. She was supposed to
                  get her left ovary removed because it had a cyst on
                  the left ovary. He took out the right one. She had
                  to go back to take out the left and wound up with a
                  total hysterectomy.

            (g)   He’s taking everybody stuff out, that’s his
                  specialty.

            (h)   He’s the uterus collector.

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            (i)    Is he collecting these things or something?

            (j)    Everybody he sees he’s taking all their uteruses out
                   or he’s taking their tubes out.

            (k)    He removed the uteruses of these refugee women
                   for no medical reason, without their proper
                   informed consent.

            (l)    Two women who were detained at the facility say
                   they received hysterectomies that they believe may
                   have been unnecessary.

            (m)    She went to this doctor’s office for an exam. The
                   exam left her with bruising

            (n)    They [detainees] never should have been sent out
                   to see a gynecologist, but, rather, whatever was
                   going on with them, they did not understand that
                   the treatment was going to be a hysterectomy and
                   then in some cases the allegation here is that the
                   hysterectomies, whether or not the women
                   consented to them in the first place, they were not
                   medically necessary.

            (o)    And there are other allegations of other procedures
                   including pap smears where women are told
                   you’ve got ovarian cysts or cancer, and that turned
                   out not to be the case and those procedures
                   happened anyway.

            (p)    They considered him the uterus collector.

      85.   MSNBC included the text of Dr. Amin’s name on the screen during

the fourth broadcast


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      86.   Fifth, on All In with Chris Hayes, which aired on or about September

17, 2020 (“fifth broadcast”), MSNBC published the following false and

defamatory statements of and concerning Dr. Amin:

            (a)    We've been bringing you the story of allegations of
                   medical procedures performed on immigrant
                   women without -- many without consent at an ICE
                   detention facility in Georgia.

            (b)    Felt like I had no right to say anything about a
                   hysterectomy she underwent that was performed
                   by a doctor named Mahendra Amin. She also told
                   us about how Dr. Amin performed an unexpected
                   vaginal ultrasound that she was, she says, not
                   prepared for.

            (c)    He didn't tell me nothing, he just -- instead he
                   proceeded with vaginal ultrasound, I think. Am I
                   saying it right? But I was not aware of that.

            (d)    No, not at all [I was not prepared for that]. No. So
                   I felt violated. And just, you know, keep doing the
                   procedures, the ultrasound.

      87.   MSNBC included the statement “Investigation ordered into claims of

unnecessary medical procedures on immigrant women” across the screen during

the fifth broadcast and during an interview with an unidentified woman who was

not Dawn Wooten, the alleged whistleblower.

      88.   MSNBC also included multiple pictures and the text of Dr. Amin’s

name on the screen during the fifth broadcast.


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       89.    MSNBC and its reporters repeated their false and defamatory

statements of and concerning Dr. Amin on Twitter on at least three occasions on

September 16, 2020 and September 22, 2020.

 MSNBC knew its broadcasts were false and pretended to portray them as a
           report of government action when none existed

       90.    Knowing that the broadcasts were false and defamatory as to Dr.

Amin or acting with a reckless disregard that the broadcasts were false and

defamatory as to Dr. Amin, MSNBC pretended to simply be reporting on

government action when none existed.

       91.    There was no government action as to Dr. Amin at the time of the

broadcasts, so there was no government action to report on as to Dr. Amin.

       92.    There was no government action taken on any allegation made in the

letter until at least October 2020.

       93.    MSNBC knew there was no government action, but continued to

pretend there was throughout the broadcasts.

       94.    There was no statement from any of the entities to whom the

purported “whistleblower” purportedly sent her letter regarding Dr. Amin at the

time of the broadcasts.

       95.    There has been no statement from any of the entities to whom the

purported “whistleblower” purportedly sent her letter regarding Dr. Amin at any

time after the date of the letter.
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       96.     MSNBC included the statement “Investigation ordered into claims of

unneeded medical procedures on immigrant women” across the screen during the

fifth broadcast even though no investigation announcement was cited or otherwise

discussed.

       97.     Indeed, MSNBC, through Chris Hayes, closed the fifth broadcast with

“We truly need nothing less than a full thorough, complete, and timely

investigation. And we here on the show are going to be doing our best to make

sure that happens,” indicating there was no such investigation planned.

                 The broadcasts went beyond anything in the letter

       98.     MSNBC published false and defamatory statements beyond the

contents of the letter.

       99.     The letter does not mention Dr. Amin’s name at all.

       100. Dr. Amin, who is not a public figure, was not readily identifiable prior

to the broadcasts.

       101. The letter predominantly concerned the lack of COVID-19 protections

at the ICDC.

       102. The letter also concerned unsanitary conditions in medical and

quarantine units of the ICDC itself, as well as actions of “a sick call nurse” and the

“medical staff” generally.




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      103. The introduction of the letter only has a single sentence about “red

flags regarding the rate at which hysterectomies are performed.”

      104. Only two pages of the 27-page letter concern hysterectomies of “a

particular gynecologist outside the facility.”

      105. That two-page excerpt of the letter relays the “whistleblower’s”

“concerns” about “high numbers” of people at the ICDC receiving hysterectomies,

stating that “[i]ntertwined with the issue of the reported high rates of

hysterectomies is the issue of proper informed consent,” and “[t]hese immigrant

women, I don’t think they really, totally, all the way understand this is what’s

going to happen depending on who explains it to them.”

      106. The press release accompanying the letter was titled, “Whistleblowing

Nurse from Detention Center in Georgia Reports Unsafe Practices that Promote the

Spread of COVID-19 in ICE Detention.”

      107. The term “COVID-19” appears 19 times, including in the title, of the

press release accompanying the letter.

      108. The words “hysterectomy,” “abuse,” “Amin,” and even “doctor” do

not appear in the press release accompanying the letter.

      109. MSNBC accused Dr. Amin of performing mass hysterectomies that

were not medically necessary on ICDC detainees.




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      110. During the second broadcast, MSNBC, through Chris Hayes,

described “[c]hief among” the allegations of the “whistleblower” is “that women in

that facility, migrant women, say that a doctor was performing unauthorized

hysterectomies on immigrant women detained at that facility.”

      111. MSNBC accused Dr. Amin of being “abusive,” “overly harsh,” and

“hurting” his patients, none of which appears in the letter.

      112. Calling it “our new reporting,” and stating it allowed MSNBC to

“really broaden this story out,” MSNBC cited its own reporting, “based on

conversations with four lawyers who represented clients in this facility over the

past three years” for calling Dr. Amin “abusive,” saying that they came back from

his treatment “bruised,” and calling him “overly harsh” in the first broadcast.

      113. MSNBC also described this reporting in the first broadcast as “the

new reporting by NBC News that calls out this doctor by name and gives specific

allegations that clients gave their lawyers.”

      114. MSNBC claims credit for identifying Dr. Amin during at least the first

and third broadcasts, not claiming that the information was available in or readily

apparent from the letter.

      115. During the second broadcast, MSNBC, through Chris Hayes, cited an

attorney who “tells us that as many as 15 immigrant women were given full or




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partial hysterectomies or other procedures for which no medical indication

existed.”

       116. In contrast to the letter, MSNBC stated that medical procedures were

“unauthorized,” “unnecessary,” and “without consent,” all of which exceed the

allegations of the letter.

       117. During the fourth broadcast, MSNBC cited to allegations from women

not mentioned in the letter.

       118. By exceeding the scope of the letter, MSNBC made additions of its

own that would convey a defamatory impression that Dr. Amin is definitively an

abusive doctor who performed unnecessary procedures including hysterectomies,

when a reader of the letter would not reach that conclusion.

                   The broadcasts contradicted the known facts

       119. MSNBC made its false and defamatory broadcasts without any

investigation into the truth or falsity and in the face of contradictory information

already known at the time of the broadcasts.

       120. Only one day after the date of the letter, it was revealed that (a)

allegations of mass hysterectomies were not based on first-hand accounts and were

shared in the letter only for effect and (b) ICDC and Irwin County Hospital

confirmed that Dr. Amin had performed only two hysterectomies on ICDC

patients.


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      121. Only one day after the date of the letter, ICE issued a statement that

contradicted information presented in the broadcasts.

      122. ICE stated that “only two individuals” were referred for

hysterectomies.

      123. ICE stated that “detainees are afforded informed consent, and a

medical procedure like a hysterectomy would never be performed against a

detainee’s will.”

      124. ICE stated that, while “medical professionals certainly have a duty to

report any issues of concern through appropriate channels,” including the

Department of Homeland Security’s Office of Inspector General, “those involved

in this report have chosen to first go to the media with their allegations, without

allowing the government to examine or take appropriate action.”

      125. The ICE statement indicated that the purported whistleblower was not

a whistleblower and did not go through the appropriate channels for a government

investigation.

      126. ICE stated that it “does not comment prematurely on reported

allegations.”

      127. ICE stated that it “intends to fully cooperate with any resulting

investigation,” indicating the absence of any existing investigation at the time.




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      128. MSNBC knew about the ICE statement, but failed to include it in

some broadcasts, implied it did not exist in one, and only selectively quoted from it

in others.

      129. In the first broadcast, MSNBC did not include any of the ICE

statement regarding there only being two hysterectomies referred and did not

include the ICE statement that “detainees are afforded informed consent, and a

medical procedure like a hysterectomy would never be performed against a

detainee’s will.”

      130. In the second broadcast, MSNBC again selectively quoted from the

ICE statement and did not include the ICE statement that “detainees are afforded

informed consent, and a medical procedure like a hysterectomy would never be

performed against a detainee’s will.”

      131. In the third broadcast, MSNBC creates the impression that ICE has

said nothing substantive regarding the allegations of mass hysterectomies

(although it had) by stating, through Chris Hayes, “Now we’ve asked ICE for

comment. They’ve told us they cannot comment on medical records without a

waiver due to privacy concerns.”

      132. In the fourth broadcast, MSNBC selectively quoted from the ICE

statement and did not include the ICE statement that “detainees are afforded




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informed consent, and a medical procedure like a hysterectomy would never be

performed against a detainee’s will.”

       133. In the fifth broadcast, MSNBC does not include any statement from

ICE.

       134. It is beyond reasonable belief that detainees in an ICE facility, such as

ICDC, could undergo surprise hysterectomies without consultation and consent.

       135. ICE performs an independent review for all surgical procedures and

issues its approval or denial for such procedures.

       136. This review process requires an ICDC nurse and an independent

physician to review a patient’s medical records and determine if the requested

procedure is medically necessary. The process typically takes around two weeks.

       137. Dr. Amin has never performed a procedure on an ICDC patient

without going through this process.

       138. ICE provided such review and approval for both hysterectomies that

Dr. Amin performed on ICDC patients.

       139. An independent physician review of those procedures confirms that

the procedures were medically necessary, and that the procedures were discussed

with and consent for the procedures was given by both patients.

       140. Dr. Amin always obtains informed consent from his patients.




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      141. Dr. Amin utilizes interpreters when treating patients who do not speak

or understand English.

      142. When Dr. Amin treated ICDC patients, he was supervised by at least

one other person. This was a matter of protocol.

      143. Dr. Amin has never treated any patient roughly or inappropriately.

      144. Because MSNBC knew that medical procedures on any ICE detainees

require government approval for performance and payment, it knew that if ICE

said there were only two referrals for hysterectomies if ICDC detainees, then it

knew there could have only been two hysterectomies of ICDC detainees.

      145. Because MSNBC knew that medical procedures on ICE detainees are

paid for by the government, meaning it is not possible for a medical professional to

receive payment for a medical procedure that is not referred, it knew that if ICE

said there were only two referrals for hysterectomies for ICDC detainees, then it

knew there could have only been two hysterectomies performed on ICDC

detainees.

      146. Alternatively, from the ICE statement that only two hysterectomies

were referred, MSNBC knew that if a medical professional had performed other

hysterectomies on ICDC detainees other than the two that were referred, then they

would not have received payment for them, which would make it improbable to

believe that a medical professional would perform them.


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      147. This is especially true in light of MSNBC’s repeated mention during

the broadcasts of Dr. Amin’s involvement in a settlement of claims of overbilling,

implying that Dr. Amin had a monetary motive for whatever procedures he

performed on ICE detainees.

      148. MSNBC not only knew that ICDC patients could not receive

hysterectomies, or medical professionals could not be paid for performing them,

unless and until there was a referral for them, it drew emphasis between a referral

for a hysterectomy and a performance of a hysterectomy as if they were entirely

separate and distinct issues and that one had nothing to do with the other, when

MSNBC knew the opposite was true.

      149. For example, in the second broadcast, MSNBC, through Chris Hayes,

puts linguistical emphasis on the word “referred” when discussing the ICE

statement that only two patients were referred for hysterectomies.

      150. For example, in the fourth broadcast, MSNBC, through Rachel

Maddow, puts linguistical emphasis on the word “referred” when discussing the

ICE statement that only two patients were referred for hysterectomies.

      151. MSNBC goes a step further during the fourth broadcast and falsely

tells viewers, through Rachel Maddow, that it was possible for a detainee to

receive a hysterectomy even without a referral: “Whether or not the women were




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referred for hysterectomies or not, more than two women are saying they got

them.”

      152. During this same broadcast, MSNBC failed to include an ICE

statement available at the time that “detainees are afforded informed consent, and a

medical procedure like a hysterectomy would never be performed against a

detainee’s will,” while at the same time stating that “whether or not the women

were referred for hysterectomies or not, … more than two women are telling

lawyers as part of this complaint that they don’t know why they got them and they

don’t think they needed them.”

  MSNBC purposefully avoided information that contradicted its narrative

      153. MSNBC only aired one side of the story, from the originators of the

letter and detainees at ICDC, purposely avoiding facts from Dr. Amin, government

agencies, nurses or anyone else who had worked with Dr. Amin alongside ICDC

detainees, other of Dr. Amin’s patients, and neutral parties.

      154. The originators of the letter did not substantiate the sensational

allegations of abuse and unnecessary hysterectomies, only mentioned it in couched

language, and did not even address it in the press release accompanying the letter.

      155. MSNBC aired statements from women who would not share their

names or faces.




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      156. MSNBC relied on allegations by women who would not provide

releases under the Health Insurance Portability and Accountability Act (“HIPAA

releases”) to Dr. Amin so that he could respond to the allegations.

      157. MSNBC did not publish the fact that HIPAA requirements prevented

Dr. Amin from responding to the substance of patients’ allegations during the first

broadcast.

      158. MSNBC did not publish the fact that the women who made

allegations against Dr. Amin on the first broadcast did not execute HIPAA releases

to allow Dr. Amin to respond.

      159. MSNBC did not publish the fact that HIPAA requirements prevented

Dr. Amin from responding to the substance of patients’ allegations during the

second broadcast.

      160. MSNBC did not publish the fact that the women who made

allegations against Dr. Amin on the second broadcast did not execute HIPAA

releases to allow Dr. Amin to respond.

      161. MSNBC did not publish the fact that HIPAA requirements prevented

Dr. Amin from responding to the substance of patients’ allegations during the third

broadcast, though MSNBC did share that ICE was prevented from commenting

because of HIPAA.




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      162. MSNBC did not publish the fact that the women who made

allegations against Dr. Amin on the third broadcast did not execute HIPAA

releases to allow Dr. Amin to respond.

      163. MSNBC did not publish the fact that HIPAA requirements prevented

Dr. Amin from responding to the substance of patients’ allegations during the

fourth broadcast.

      164. MSNBC did not publish the fact that the women who made

allegations against Dr. Amin on the fourth broadcast did not execute HIPAA

releases to allow Dr. Amin to respond.

      165. MSNBC did not publish the fact that HIPAA requirements prevented

Dr. Amin from responding to the substance of patients’ allegations during the fifth

broadcast.

      166. MSNBC did not publish the fact that the women who made

allegations against Dr. Amin on the fifth broadcast did not execute HIPAA releases

to allow Dr. Amin to respond.

      167. The fact that the women who wanted to talk about their allegations in

the broadcasts were not willing to provide HIPAA releases to Dr. Amin so that he

could respond was a red flag to MSNBC that the patients were not credible and

that their accounts were improbable.




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       168. MSNBC acted with reckless disregard for truth or falsity when it

allowed patients to make allegations against Dr. Amin on-air knowing that Dr.

Amin could not defend against the allegations because those same patients were

preventing Dr. Amin from speaking because they did not provide HIPAA releases

that would have allowed him to speak and provide medical records from his office

to show what procedures were actually performed and the medical necessity

substantiating the procedures performed.

       169. MSNBC added insult to injury by airing Dr. Amin’s general denial

knowing he could do no more without HIPAA releases from the women that

MSNBC gave an open platform to speak (a platform that was closed to Dr. Amin).

       170. If the patients had provided HIPAA releases to Dr. Amin, he would

have been able to show his medical records for the patients who claimed they had

hysterectomies, but did not.

       171. The patients and/or their attorneys were incentivized to allege that Dr.

Amin was abusive and performed unnecessary hysterectomies and procedures as a

way for the patients to stay in the United States and receive increased assistance

and attention to their efforts to stay.

       172. An attorney for the “whistleblower” also stated, and MSNBC had

knowledge of the statement, that “she included the allegations in the report with

the intention of triggering investigation to whether or not the claims are true.”


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         173. MSNBC relied upon an alleged “whistleblower” who was admonished

by ICE for not following its appropriate channels.

         174.   MSNBC accordingly had obvious reasons to doubt the veracity of the

sources and their accounts.

         175. MSNBC knew from ICE’s statement that it “does not comment

prematurely on reported allegations.”

         176. MSNBC also declined to further investigate the claims

notwithstanding the anonymity of most of the sources or the HIPAA compliance

requirements, purposely avoiding acquiring knowledge of facts that might confirm

the probable falsity of the charges.

         177. MSNBC continued to allege mass hysterectomies despite knowing

that ICE stated that two were referred and that “a medical procedure like a

hysterectomy would never be performed against a detainee’s will.”

         178. MSNBC never retracted its statements, and MSNBC continued to

publish them, when it had a high degree of awareness of their probable falsity.

         179. MSNBC never invited Dr. Amin onto any of its programs to share the

truth.

         180. MSNBC can barely be said to have sought even so much as a

comment from Dr. Amin, reaching out to him only less than 90 minutes before




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airing false and defamatory statements for the third time and less than several

hours before airing them for the fifth time.

                     MSNBC was not neutral in its reporting
                    and became an advocate against Dr. Amin

      181. MSNBC did not report the allegations of the letter as merely a neutral

news agency but instead fomented the allegations to continue the news cycle

without caring about the actual truth or falsity of the allegations.

      182. MSNBC portrayed the defamatory statements as truth and argued that

ICE, ICDC, and Dr. Amin should face “accountability,” called the Dr. Amin “a so-

called medical professional,” and vowed to “do[] our best” to pressure authorities

to investigate Dr. Amin.

      183. For example, in the fourth broadcast, MSNBC, through Rachel

Maddow, stated, “these allegations from this whistleblower are not isolated

complaints,” and “[t]here is significant corroboration for the worst of the

allegations [the “whistleblower”] is making.”

      184. For example, in the fourth broadcast, MSNBC, through Rachel

Maddow, asked its reporter, “What do you expect to happen in terms of this being

looked into in terms of these women’s claims being investigated and potentially

there being accountability here.”

      185. For example, in the fifth broadcast MSNBC, through Chris Hayes,

stated, specifically about Dr. Amin, “We truly need nothing less than a full
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thorough, complete, and timely investigation. And we here on the show are going

to be doing our best to make sure that happens.”

      186. For example, in the fourth broadcast, MSNBC, through Rachel

Maddow, stated, “I know these are hard stories to talk about, but these are real

human beings undergoing what is alleged to be truly, truly horrific treatment at the

hands of a so-called medical professional.”

            MSNBC created a narrative that Dr. Amin was part of
              the Trump administration’s inhumane policies

      187. MSNBC’s target audience is primarily comprised of democrats and

other politically left-leaning voters who dislike Donald Trump.

      188. The broadcasts aired approximately six weeks before the 2020

Election where Donald Trump was running for re-election for President.

      189. MSNBC created a narrative to tie Dr. Amin to the Trump

administration and a methodical, multi-faceted effort to hurt people.

      190. MSNBC pushed this narrative throughout the broadcasts.

      191. For example, in the third broadcast, MSNBC, through Chris Hayes,

tied Dr. Amin’s treatment of ICDC detainees to “historical” acts of “coerced

sterilization of an imprisoned immigrant population” and made sure to state that

Dr. Amin pressured women into hysterectomies “in the Irwin County Detention

Center during the Trump administration.”



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      192. For example, in the fourth broadcast, MSNBC, through Rachel

Maddow, prefaced its false and defamatory comments about Dr. Amin with a

discussion of the Trump administration’s “permanent damage done to humans”

and the “morale catastrophe” of (1) the Trump administration’s policy of

separating children from their parents at the United States border and (2) a Trump

administration appointee’s efforts to block a teenage rape victim from obtaining an

abortion of her rapist’s child.

      193. Further, in the fourth broadcast, MSNBC, through Rachel Maddow,

compared Dr. Amin’s treatment of his patients to the ripping of children from the

arms of their parents and making those children sleep on hard floors behind chain

link fences with no idea how they would ever reunite the children with their

parents and a government official who used his position of power to deny a

teenager the ability to obtain an abortion of her rapist’s child and said that Dr.

Amin’s performance of mass hysterectomies at ICDC were “the next chapter in the

same story” (emphasis supplied).

      194. Specifically, MSNBC, through Rachel Maddow, stated that

      I know this is dark stuff. I mean, it was rough reporting all of this,
      frankly, the first time around. It’s one of those things that, like, you
      know, you come to work and hope there’s no new developments on
      that story. But the reason I’m bringing it all up again tonight is
      because now we have arrived at the next chapter of the same story.
      And I’m not going to dance around it. I’m just going to say it, and I
      guess we should have seen it coming, but still it’s a shock.


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and then went on to immediately make false and defamatory accusations that Dr.

Amin performed unconsented to mass hysterectomies on detainees.

      195. MSNBC pushed this narrative throughout the fourth broadcast,

including by featuring the author of the book “Separated: Inside an American

Tragedy,” which MSNBC, through Rachel Maddow, described on-air as “the

seminal book on the child separation policy that I think is relevant context here.”

(emphasis supplied).

      196. The facts did not matter to MSNBC.

      197. Dr. Amin and his reputation did not matter to MSNBC.

      198. Dr. Amin was a mere tool for MSNBC to use in its quest for better

ratings and to help defeat Donald Trump.

      199. MSNBC had a narrative that attracted viewers from its target

audience, and so MSNBC aired lies to chase ratings and make more money.

      200. MSNBC purposefully created a narrative that Dr. Amin was preying

upon and experimenting on one of the most vulnerable populations—immigrant

women housed in an ICE detention center—and linked those actions to the Trump

administration as the “next chapter” in the story of the Trump Administration’s

“moral catastrophe” and its continued pattern of inflicting “permanent damage [] to

humans.”




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      201. MSNBC repeated the false and defamatory statements on at least five

separate broadcast segments over at least four days despite knowing the truth.

                   CAUSE OF ACTION FOR DEFAMATION

      202. Dr. Amin incorporates by reference the paragraphs above as though

the same were set forth herein in their entirety.

      203. The broadcasts are false as to Dr. Amin.

      204. The broadcasts convey a grossly inaccurate and false impression of

Dr. Amin.

      205. The broadcasts are defamatory as to Dr. Amin.

      206. The gist of the broadcasts is false and defamatory per se in conveying

accusations that Dr. Amin is an unethical and dishonest physician with no regard

for the safety and well-being of his patients, and that he actively and intentionally

sought to hurt them.

      207. The broadcasts include false and defamatory statements, which when

put in the context of each broadcast and the broadcasts as a whole, convey a false

and defamatory image of Dr. Amin.

      208. The broadcasts and tweets constitute libel and/or slander per se in that

they directly and/or implicitly impute actions to Dr. Amin that injure his

professional reputation.




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      209. The broadcasts and tweets constitute libel and/or slander per se in that

they directly and/or implicitly imputes actions to Dr. Amin that are defamatory and

injurious to his reputation on their face and can be so understood without reference

to any additional or extrinsic facts.

      210. The broadcasts are not privileged.

                           Publication with actual malice

      211. Evidencing a reckless disregard for truth or falsity, MSNBC

knowingly and purposely avoided the truth and ignored evidence establishing the

falsity of their statements prior to their publication.

      212. Evidencing a reckless disregard for truth or falsity, MSNBC

broadcasted accusations against Dr. Amin that were so inherently improbable on

their face as to raise serious doubts about their truth.

      213. Evidencing a reckless disregard for truth or falsity, MSNBC

broadcasted accusations against Dr. Amin that were so outrageous on their face as

to raise serious doubts about their truth.

      214. Evidencing a reckless disregard for truth or falsity, MSNBC

broadcasted accusations against Dr. Amin that contradicted known facts.

      215. Evidencing a reckless disregard for truth or falsity, MSNBC

nevertheless broadcasted accusations against Dr. Amin without conducting even a

cursory investigation, which failure constitutes gross negligence.

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      216. MSNBC had actual knowledge that the accusations against Dr. Amin

were false prior to publication.

      217. MSNBC and NBCUniversal financially benefited from viewership

resulting from the serial false and defamatory broadcasts regarding Dr. Amin.

      218. Notwithstanding all the information available and specifically

provided to MSNBC, MSNBC steadfastly refused to retract or correct its

defamatory statements and instead doubled down on them in the broadcasts

repeatedly over at least four days.

      219. MSNBC portrayed itself as a crusader, advocating for

“accountability” and vowing to “make sure” Dr. Amin was investigated.

      220. MSNBC and its reporters also kept the false and defamatory

statements alive on social media as late as September 22, 2020.

      221. MSNBC never invited Dr. Amin to appear on any of the broadcasts to

share the truth, even though MSNBC was aware of the truth.

      222. On August 26, 2021, Stacey Evans, on behalf of Dr. Amin, sent a

letter to MSNBC wherein she informed MSNBC that the broadcasts were false and

defamatory as to Dr. Amin, including a list of the false and defamatory statements

from the broadcasts, and demanded a retraction and correction.




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      223. Evidencing a continued reckless disregard for truth or falsity, MSNBC

and NBCUniversal failed and refused to publish a retraction and correction of the

false and defamatory accusations against Dr. Amin.

                                     Damages

      224. The false and defamatory broadcasts were published to third parties

and were, in fact, viewed by third parties across the United States and around the

world.

      225. The false and defamatory broadcasts were of and concerning Dr.

Amin, because, among other reasons, MSNBC identified Dr. Amin by name in

each of the broadcasts, some including his picture.

      226. As a direct and proximate result of the false and defamatory

statements about him in the broadcasts, Dr. Amin’s personal reputation and his

reputation as a physician have been permanently damaged.

      227. As a direct and proximate result of the false and defamatory

statements about him in the broadcasts, Dr. Amin has suffered stress, emotional

distress, embarrassment, humiliation, anger, and other mental pain and suffering.

      228. As a direct and proximate result of the false and defamatory

statements about him in the broadcasts, Dr. Amin has suffered public hatred,

contempt, scorn, and ridicule.




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      229. Dr. Amin was regularly stalked and otherwise followed by people

calling him names.

      230. Dr. Amin has been the recipient of multiple vile and hateful telephone

calls, in-person comments, social media comments, and mail that no person should

have to endure.

      231. Dr. Amin received death threats and bomb threats.

      232. Dr. Amin was called “inhuman,” “corrupt,” “evil,” and a “monster.”

      233. Some have compared Dr. Amin to Dr. Josef Mengele, the infamous

Nazi doctor who performed medical experiments at the Auschwitz death camps.

This is among several commenters who make Nazi and Holocaust comparisons.

      234. Some went so far as to address him as “Dr. Mengele” and to write to

him that he “should be hung by [his] genitals.”

      235. Some have compared Dr. Amin to the Hollywood doctor in the movie

Malice who removes a patient’s ovaries while intoxicated.

      236. Dr. Amin was called a “racist” who is “advancing racists ideals.”

      237. He was called a “lower middle class bureaucratic a**wipe.”

      238. He was told he was “going straight to hell for being part of this piece

of sh*t.”

      239. One commenter said to Dr. Amin, “F*ck you and f*ck your whole

family b*tch boy.”


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      240. He was told to “rot in hell” and “rot in prison.”

      241. Dr. Amin continues to fear for his safety. He fears that people are

following him and talking about him in public.

      242. As a direct and proximate result of the false and defamatory

statements about him in the broadcasts, Dr. Amin has withdrawn from social and

community activities he previously enjoyed.

      243. As a direct and proximate result of the false and defamatory

statements about him in the broadcasts, Dr. Amin has suffered special damages.

      244. Dr. Amin has lost patients at his medical practice as a direct and

proximate result of the false and defamatory statements about him in the

broadcasts.

      245. Dr. Amin has lost his ability to provide medical services to the ICDC

patients as a direct and proximate result of the false and defamatory statements

about him in the broadcasts.

      246. As set forth above, the broadcasts are defamatory and libelous per se,

entitling Dr. Amin to presumed damages.

      247. NBCUniversal and MSNBC have not retracted or corrected their false

and defamatory statements despite knowledge of their falsity.




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      248. The conduct of NBCUniversal and MSNBC demonstrates willful

misconduct and an entire want of care that raises a conscious indifference to

consequences.

      249. The false and defamatory accusations were published with

constitutional actual malice thereby entitling Dr. Amin to an award of punitive

damages.

      250. Dr. Amin is also entitled to an award of punitive damages to punish

NBCUniversal for its unlawful conduct and to penalize and deter it from repeating

such unlawful and egregious conduct.

   WHEREFORE, Dr. Amin demands:

      (a) Trial by jury;

      (b) That judgment be entered against NBCUniversal for compensatory

           damages in an amount not less than Ten Million Dollars

           ($10,000,000.00);

      (c) That judgment be entered against NBCUniversal for punitive damages in

           an amount not less than Twenty Million Dollars ($20,000,000.00) to

           punish and penalize NBCUniversal and deter it from repeating its

           unlawful conduct;

      (d) That all costs of this action be assessed against NBCUniversal; and




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   (e) That this Court award such other relief as it deems equitable, just, and

      proper.



         Respectfully submitted this 3rd day of May 2022.


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                         CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing FIRST

AMENDED COMPLAINT FOR DEFAMATION will be served upon all

attorneys in this matter via email or by filing with the Court’s CM/ECF system.

      This 3rd day of May 2022.


                                      /s/ Stacey Godfrey Evans
                                      Stacey Godfrey Evans




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